                   Case 1:25-cv-00716-BAH                   Document 5          Filed 03/11/25      Page 1 of 34

$2 5HY'& 6XPPRQVLQD&LYLO$FWLRQ


                                      81,7('67$7(6',675,&7&2857
                                                                    IRUWKH
                                                           District of Columbia
                                                     BBBBBBBBBB'LVWULFWRIBBBBBBBBBB

                       Perkins Coie LLP




                            3ODLQWLII V
                                 Y                                           &LYLO$FWLRQ1R 1:25-cv-00716-BAH
             U.S. Department of Justice, et al.



                           'HIHQGDQW V


                                                     SUMMONS IN A CIVIL ACTION

7R 'HIHQGDQW¶VQDPHDQGDGGUHVV Civil Process Clerk
                                          U.S. Attorney’s Office for D.C.
                                          601 D Street, NW Washington, DC 20530




          $ODZVXLWKDVEHHQILOHGDJDLQVW\RX

        :LWKLQGD\VDIWHUVHUYLFHRIWKLVVXPPRQVRQ\RX QRWFRXQWLQJWKHGD\\RXUHFHLYHGLW ²RUGD\VLI\RX
DUHWKH8QLWHG6WDWHVRUD8QLWHG6WDWHVDJHQF\RUDQRIILFHURUHPSOR\HHRIWKH8QLWHG6WDWHVGHVFULEHGLQ)HG5&LY
3 D  RU  ²\RXPXVWVHUYHRQWKHSODLQWLIIDQDQVZHUWRWKHDWWDFKHGFRPSODLQWRUDPRWLRQXQGHU5XOHRI
WKH)HGHUDO5XOHVRI&LYLO3URFHGXUH7KHDQVZHURUPRWLRQPXVWEHVHUYHGRQWKHSODLQWLIIRUSODLQWLII¶VDWWRUQH\
ZKRVHQDPHDQGDGGUHVVDUH Dane Butswinkas
                                          Williams & Connolly LLP
                                          680 Maine Ave, SW
                                          Washington, DC 20024



       ,I\RXIDLOWRUHVSRQGMXGJPHQWE\GHIDXOWZLOOEHHQWHUHGDJDLQVW\RXIRUWKHUHOLHIGHPDQGHGLQWKHFRPSODLQW
<RXDOVRPXVWILOH\RXUDQVZHURUPRWLRQZLWKWKHFRXUW



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'DWH        3/11/2025                                                                     /s/ Jean-Claude Douyon
                                                                                          6LJQDWXUHRI&OHUNRU'HSXW\&OHUN
                      Case 1:25-cv-00716-BAH                   Document 5        Filed 03/11/25            Page 2 of 34

$2 5HY 6XPPRQVLQD&LYLO$FWLRQ 3DJH

 &LYLO$FWLRQ1R 1:25-cv-00716-BAH

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                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           7KLVVXPPRQVIRU QDPHRILQGLYLGXDODQGWLWOHLIDQ\
 ZDVUHFHLYHGE\PHRQ GDWH                                           

           u ,SHUVRQDOO\VHUYHGWKHVXPPRQVRQWKHLQGLYLGXDODW SODFH
                                                                                 RQ GDWH                              RU

           u ,OHIWWKHVXPPRQVDWWKHLQGLYLGXDO¶VUHVLGHQFHRUXVXDOSODFHRIDERGHZLWK QDPH
                                                                  DSHUVRQRIVXLWDEOHDJHDQGGLVFUHWLRQZKRUHVLGHVWKHUH
           RQ GDWH                                 DQGPDLOHGDFRS\WRWKHLQGLYLGXDO¶VODVWNQRZQDGGUHVVRU

           u ,VHUYHGWKHVXPPRQVRQ QDPHRILQGLYLGXDO                                                                        ZKRLV
           GHVLJQDWHGE\ODZWRDFFHSWVHUYLFHRISURFHVVRQEHKDOIRI QDPHRIRUJDQL]DWLRQ
                                                                                 RQ GDWH                              RU

           u ,UHWXUQHGWKHVXPPRQVXQH[HFXWHGEHFDXVH                                                                               RU

           u 2WKHU VSHFLI\ 
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                                                                                              6HUYHU¶VVLJQDWXUH



                                                                                            3ULQWHGQDPHDQGWLWOH




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 $GGLWLRQDOLQIRUPDWLRQUHJDUGLQJDWWHPSWHGVHUYLFHHWF
                   Case 1:25-cv-00716-BAH                   Document 5          Filed 03/11/25      Page 3 of 34

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                       Perkins Coie LLP




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                                 Y                                           &LYLO$FWLRQ1R 1:25-cv-00716-BAH
             U.S. Department of Justice, et al.



                           'HIHQGDQW V


                                                     SUMMONS IN A CIVIL ACTION

7R 'HIHQGDQW¶VQDPHDQGDGGUHVV Attorney General of the United States
                                          U.S. Department of Justice
                                          950 Pennsylvania Avenue NW Washington, DC 20530




          $ODZVXLWKDVEHHQILOHGDJDLQVW\RX

        :LWKLQGD\VDIWHUVHUYLFHRIWKLVVXPPRQVRQ\RX QRWFRXQWLQJWKHGD\\RXUHFHLYHGLW ²RUGD\VLI\RX
DUHWKH8QLWHG6WDWHVRUD8QLWHG6WDWHVDJHQF\RUDQRIILFHURUHPSOR\HHRIWKH8QLWHG6WDWHVGHVFULEHGLQ)HG5&LY
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ZKRVHQDPHDQGDGGUHVVDUH Dane Butswinkas
                                          Williams & Connolly LLP
                                          680 Maine Ave, SW
                                          Washington, DC 20024



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'DWH         3/11/2025                                                                    /s/ Jean-Claude Douyon
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                      Case 1:25-cv-00716-BAH                   Document 5        Filed 03/11/25            Page 4 of 34

$2 5HY 6XPPRQVLQD&LYLO$FWLRQ 3DJH

 &LYLO$FWLRQ1R 1:25-cv-00716-BAH

                                                      PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           7KLVVXPPRQVIRU QDPHRILQGLYLGXDODQGWLWOHLIDQ\
 ZDVUHFHLYHGE\PHRQ GDWH                                           

           u ,SHUVRQDOO\VHUYHGWKHVXPPRQVRQWKHLQGLYLGXDODW SODFH
                                                                                 RQ GDWH                              RU

           u ,OHIWWKHVXPPRQVDWWKHLQGLYLGXDO¶VUHVLGHQFHRUXVXDOSODFHRIDERGHZLWK QDPH
                                                                  DSHUVRQRIVXLWDEOHDJHDQGGLVFUHWLRQZKRUHVLGHVWKHUH
           RQ GDWH                                 DQGPDLOHGDFRS\WRWKHLQGLYLGXDO¶VODVWNQRZQDGGUHVVRU

           u ,VHUYHGWKHVXPPRQVRQ QDPHRILQGLYLGXDO                                                                        ZKRLV
           GHVLJQDWHGE\ODZWRDFFHSWVHUYLFHRISURFHVVRQEHKDOIRI QDPHRIRUJDQL]DWLRQ
                                                                                 RQ GDWH                              RU

           u ,UHWXUQHGWKHVXPPRQVXQH[HFXWHGEHFDXVH                                                                               RU

           u 2WKHU VSHFLI\ 
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 'DWH
                                                                                              6HUYHU¶VVLJQDWXUH



                                                                                            3ULQWHGQDPHDQGWLWOH




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 $GGLWLRQDOLQIRUPDWLRQUHJDUGLQJDWWHPSWHGVHUYLFHHWF
                   Case 1:25-cv-00716-BAH                   Document 5          Filed 03/11/25      Page 5 of 34

$2 5HY'& 6XPPRQVLQD&LYLO$FWLRQ


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                       Perkins Coie LLP




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             U.S. Department of Justice, et al.



                           'HIHQGDQW V


                                                     SUMMONS IN A CIVIL ACTION

7R 'HIHQGDQW¶VQDPHDQGDGGUHVV ANDREA LUCAS, in her official capacity as Acting Chair of the Equal Employment
                                          Opportunity Commission,
                                          131 M Street, NE Washington, DC 20507




          $ODZVXLWKDVEHHQILOHGDJDLQVW\RX

        :LWKLQGD\VDIWHUVHUYLFHRIWKLVVXPPRQVRQ\RX QRWFRXQWLQJWKHGD\\RXUHFHLYHGLW ²RUGD\VLI\RX
DUHWKH8QLWHG6WDWHVRUD8QLWHG6WDWHVDJHQF\RUDQRIILFHURUHPSOR\HHRIWKH8QLWHG6WDWHVGHVFULEHGLQ)HG5&LY
3 D  RU  ²\RXPXVWVHUYHRQWKHSODLQWLIIDQDQVZHUWRWKHDWWDFKHGFRPSODLQWRUDPRWLRQXQGHU5XOHRI
WKH)HGHUDO5XOHVRI&LYLO3URFHGXUH7KHDQVZHURUPRWLRQPXVWEHVHUYHGRQWKHSODLQWLIIRUSODLQWLII¶VDWWRUQH\
ZKRVHQDPHDQGDGGUHVVDUH Dane Butswinkas
                                          Williams & Connolly LLP
                                          680 Maine Ave, SW
                                          Washington, DC 20024



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'DWH         3/11/2025                                                                    /s/ Jean-Claude Douyon
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                      Case 1:25-cv-00716-BAH                   Document 5        Filed 03/11/25            Page 6 of 34

$2 5HY 6XPPRQVLQD&LYLO$FWLRQ 3DJH

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                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           7KLVVXPPRQVIRU QDPHRILQGLYLGXDODQGWLWOHLIDQ\
 ZDVUHFHLYHGE\PHRQ GDWH                                           

           u ,SHUVRQDOO\VHUYHGWKHVXPPRQVRQWKHLQGLYLGXDODW SODFH
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           u ,OHIWWKHVXPPRQVDWWKHLQGLYLGXDO¶VUHVLGHQFHRUXVXDOSODFHRIDERGHZLWK QDPH
                                                                  DSHUVRQRIVXLWDEOHDJHDQGGLVFUHWLRQZKRUHVLGHVWKHUH
           RQ GDWH                                 DQGPDLOHGDFRS\WRWKHLQGLYLGXDO¶VODVWNQRZQDGGUHVVRU

           u ,VHUYHGWKHVXPPRQVRQ QDPHRILQGLYLGXDO                                                                        ZKRLV
           GHVLJQDWHGE\ODZWRDFFHSWVHUYLFHRISURFHVVRQEHKDOIRI QDPHRIRUJDQL]DWLRQ
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           u ,UHWXUQHGWKHVXPPRQVXQH[HFXWHGEHFDXVH                                                                               RU

           u 2WKHU VSHFLI\ 
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 $GGLWLRQDOLQIRUPDWLRQUHJDUGLQJDWWHPSWHGVHUYLFHHWF
                   Case 1:25-cv-00716-BAH                   Document 5          Filed 03/11/25      Page 7 of 34

$2 5HY'& 6XPPRQVLQD&LYLO$FWLRQ


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                       Perkins Coie LLP




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             U.S. Department of Justice, et al.



                           'HIHQGDQW V


                                                     SUMMONS IN A CIVIL ACTION

7R 'HIHQGDQW¶VQDPHDQGDGGUHVV BRENDAN CARR, in his official capacity as the Chairman of the Federal
                                          Communications Commission,
                                          45 L Street NE
                                          Washington, DC 20554




          $ODZVXLWKDVEHHQILOHGDJDLQVW\RX

        :LWKLQGD\VDIWHUVHUYLFHRIWKLVVXPPRQVRQ\RX QRWFRXQWLQJWKHGD\\RXUHFHLYHGLW ²RUGD\VLI\RX
DUHWKH8QLWHG6WDWHVRUD8QLWHG6WDWHVDJHQF\RUDQRIILFHURUHPSOR\HHRIWKH8QLWHG6WDWHVGHVFULEHGLQ)HG5&LY
3 D  RU  ²\RXPXVWVHUYHRQWKHSODLQWLIIDQDQVZHUWRWKHDWWDFKHGFRPSODLQWRUDPRWLRQXQGHU5XOHRI
WKH)HGHUDO5XOHVRI&LYLO3URFHGXUH7KHDQVZHURUPRWLRQPXVWEHVHUYHGRQWKHSODLQWLIIRUSODLQWLII¶VDWWRUQH\
ZKRVHQDPHDQGDGGUHVVDUH Dane Butswinkas
                                          Williams & Connolly LLP
                                          680 Maine Ave, SW
                                          Washington, DC 20024



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'DWH        3/11/2025                                                                     /s/ Jean-Claude Douyon
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                      Case 1:25-cv-00716-BAH                   Document 5        Filed 03/11/25            Page 8 of 34

$2 5HY 6XPPRQVLQD&LYLO$FWLRQ 3DJH

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           RQ GDWH                                 DQGPDLOHGDFRS\WRWKHLQGLYLGXDO¶VODVWNQRZQDGGUHVVRU

           u ,VHUYHGWKHVXPPRQVRQ QDPHRILQGLYLGXDO                                                                        ZKRLV
           GHVLJQDWHGE\ODZWRDFFHSWVHUYLFHRISURFHVVRQEHKDOIRI QDPHRIRUJDQL]DWLRQ
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           u ,UHWXUQHGWKHVXPPRQVXQH[HFXWHGEHFDXVH                                                                               RU

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                       Perkins Coie LLP




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             U.S. Department of Justice, et al.



                           'HIHQGDQW V


                                                     SUMMONS IN A CIVIL ACTION

7R 'HIHQGDQW¶VQDPHDQGDGGUHVV CHARLES EZELL, in his official capacity as Acting Director of the Office of Personnel
                                          Management,
                                          1900 E St., NW, Washington, DC 20415




          $ODZVXLWKDVEHHQILOHGDJDLQVW\RX

        :LWKLQGD\VDIWHUVHUYLFHRIWKLVVXPPRQVRQ\RX QRWFRXQWLQJWKHGD\\RXUHFHLYHGLW ²RUGD\VLI\RX
DUHWKH8QLWHG6WDWHVRUD8QLWHG6WDWHVDJHQF\RUDQRIILFHURUHPSOR\HHRIWKH8QLWHG6WDWHVGHVFULEHGLQ)HG5&LY
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ZKRVHQDPHDQGDGGUHVVDUH Dane Butswinkas
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                                          680 Maine Ave, SW
                                          Washington, DC 20024



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'DWH       3/11/2025                                                                      /s/ Jean-Claude Douyon
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                    Case 1:25-cv-00716-BAH                    Document 5        Filed 03/11/25            Page 10 of 34

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 ZDVUHFHLYHGE\PHRQ GDWH                                           

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           u ,OHIWWKHVXPPRQVDWWKHLQGLYLGXDO¶VUHVLGHQFHRUXVXDOSODFHRIDERGHZLWK QDPH
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           RQ GDWH                                 DQGPDLOHGDFRS\WRWKHLQGLYLGXDO¶VODVWNQRZQDGGUHVVRU

           u ,VHUYHGWKHVXPPRQVRQ QDPHRILQGLYLGXDO                                                                        ZKRLV
           GHVLJQDWHGE\ODZWRDFFHSWVHUYLFHRISURFHVVRQEHKDOIRI QDPHRIRUJDQL]DWLRQ
                                                                                 RQ GDWH                              RU

           u ,UHWXUQHGWKHVXPPRQVXQH[HFXWHGEHFDXVH                                                                               RU

           u 2WKHU VSHFLI\ 
                                                                                                                                            


           0\IHHVDUH                            IRUWUDYHODQG                  IRUVHUYLFHVIRUDWRWDORI          0.00          


           ,GHFODUHXQGHUSHQDOW\RISHUMXU\WKDWWKLVLQIRUPDWLRQLVWUXH


 'DWH
                                                                                              6HUYHU¶VVLJQDWXUH



                                                                                            3ULQWHGQDPHDQGWLWOH




                                                                                              6HUYHU¶VDGGUHVV

 $GGLWLRQDOLQIRUPDWLRQUHJDUGLQJDWWHPSWHGVHUYLFHHWF
                  Case 1:25-cv-00716-BAH                    Document 5         Filed 03/11/25      Page 11 of 34

$2 5HY'& 6XPPRQVLQD&LYLO$FWLRQ


                                      81,7('67$7(6',675,&7&2857
                                                                    IRUWKH
                                                           District of Columbia
                                                     BBBBBBBBBB'LVWULFWRIBBBBBBBBBB

                       Perkins Coie LLP




                            3ODLQWLII V
                                 Y                                           &LYLO$FWLRQ1R 1:25-cv-00716-BAH
             U.S. Department of Justice, et al.



                           'HIHQGDQW V


                                                     SUMMONS IN A CIVIL ACTION

7R 'HIHQGDQW¶VQDPHDQGDGGUHVV EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
                                          131 M Street, NE
                                          Washington, DC 20507




          $ODZVXLWKDVEHHQILOHGDJDLQVW\RX

        :LWKLQGD\VDIWHUVHUYLFHRIWKLVVXPPRQVRQ\RX QRWFRXQWLQJWKHGD\\RXUHFHLYHGLW ²RUGD\VLI\RX
DUHWKH8QLWHG6WDWHVRUD8QLWHG6WDWHVDJHQF\RUDQRIILFHURUHPSOR\HHRIWKH8QLWHG6WDWHVGHVFULEHGLQ)HG5&LY
3 D  RU  ²\RXPXVWVHUYHRQWKHSODLQWLIIDQDQVZHUWRWKHDWWDFKHGFRPSODLQWRUDPRWLRQXQGHU5XOHRI
WKH)HGHUDO5XOHVRI&LYLO3URFHGXUH7KHDQVZHURUPRWLRQPXVWEHVHUYHGRQWKHSODLQWLIIRUSODLQWLII¶VDWWRUQH\
ZKRVHQDPHDQGDGGUHVVDUH Dane Butswinkas
                                          Williams & Connolly LLP
                                          680 Maine Ave, SW
                                          Washington, DC 20024



       ,I\RXIDLOWRUHVSRQGMXGJPHQWE\GHIDXOWZLOOEHHQWHUHGDJDLQVW\RXIRUWKHUHOLHIGHPDQGHGLQWKHFRPSODLQW
<RXDOVRPXVWILOH\RXUDQVZHURUPRWLRQZLWKWKHFRXUW



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'DWH        3/11/2025                                                                     /s/ Jean-Claude Douyon
                                                                                          6LJQDWXUHRI&OHUNRU'HSXW\&OHUN
                    Case 1:25-cv-00716-BAH                    Document 5        Filed 03/11/25            Page 12 of 34

$2 5HY 6XPPRQVLQD&LYLO$FWLRQ 3DJH

 &LYLO$FWLRQ1R 1:25-cv-00716-BAH

                                                      PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           7KLVVXPPRQVIRU QDPHRILQGLYLGXDODQGWLWOHLIDQ\
 ZDVUHFHLYHGE\PHRQ GDWH                                           

           u ,SHUVRQDOO\VHUYHGWKHVXPPRQVRQWKHLQGLYLGXDODW SODFH
                                                                                 RQ GDWH                              RU

           u ,OHIWWKHVXPPRQVDWWKHLQGLYLGXDO¶VUHVLGHQFHRUXVXDOSODFHRIDERGHZLWK QDPH
                                                                  DSHUVRQRIVXLWDEOHDJHDQGGLVFUHWLRQZKRUHVLGHVWKHUH
           RQ GDWH                                 DQGPDLOHGDFRS\WRWKHLQGLYLGXDO¶VODVWNQRZQDGGUHVVRU

           u ,VHUYHGWKHVXPPRQVRQ QDPHRILQGLYLGXDO                                                                        ZKRLV
           GHVLJQDWHGE\ODZWRDFFHSWVHUYLFHRISURFHVVRQEHKDOIRI QDPHRIRUJDQL]DWLRQ
                                                                                 RQ GDWH                              RU

           u ,UHWXUQHGWKHVXPPRQVXQH[HFXWHGEHFDXVH                                                                               RU

           u 2WKHU VSHFLI\ 
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           0\IHHVDUH                            IRUWUDYHODQG                  IRUVHUYLFHVIRUDWRWDORI          0.00          


           ,GHFODUHXQGHUSHQDOW\RISHUMXU\WKDWWKLVLQIRUPDWLRQLVWUXH


 'DWH
                                                                                              6HUYHU¶VVLJQDWXUH



                                                                                            3ULQWHGQDPHDQGWLWOH




                                                                                              6HUYHU¶VDGGUHVV

 $GGLWLRQDOLQIRUPDWLRQUHJDUGLQJDWWHPSWHGVHUYLFHHWF
                  Case 1:25-cv-00716-BAH                    Document 5         Filed 03/11/25      Page 13 of 34

$2 5HY'& 6XPPRQVLQD&LYLO$FWLRQ


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                                                                    IRUWKH
                                                           District of Columbia
                                                     BBBBBBBBBB'LVWULFWRIBBBBBBBBBB

                       Perkins Coie LLP




                            3ODLQWLII V
                                 Y                                           &LYLO$FWLRQ1R 1:25-cv-00716-BAH
             U.S. Department of Justice, et al.



                           'HIHQGDQW V


                                                     SUMMONS IN A CIVIL ACTION

7R 'HIHQGDQW¶VQDPHDQGDGGUHVV Federal Communications Commission
                                          45 L Street NE
                                          Washington, DC 20554




          $ODZVXLWKDVEHHQILOHGDJDLQVW\RX

        :LWKLQGD\VDIWHUVHUYLFHRIWKLVVXPPRQVRQ\RX QRWFRXQWLQJWKHGD\\RXUHFHLYHGLW ²RUGD\VLI\RX
DUHWKH8QLWHG6WDWHVRUD8QLWHG6WDWHVDJHQF\RUDQRIILFHURUHPSOR\HHRIWKH8QLWHG6WDWHVGHVFULEHGLQ)HG5&LY
3 D  RU  ²\RXPXVWVHUYHRQWKHSODLQWLIIDQDQVZHUWRWKHDWWDFKHGFRPSODLQWRUDPRWLRQXQGHU5XOHRI
WKH)HGHUDO5XOHVRI&LYLO3URFHGXUH7KHDQVZHURUPRWLRQPXVWEHVHUYHGRQWKHSODLQWLIIRUSODLQWLII¶VDWWRUQH\
ZKRVHQDPHDQGDGGUHVVDUH Dane Butswinkas
                                          Williams & Connolly LLP
                                          680 Maine Ave, SW
                                          Washington, DC 20024



       ,I\RXIDLOWRUHVSRQGMXGJPHQWE\GHIDXOWZLOOEHHQWHUHGDJDLQVW\RXIRUWKHUHOLHIGHPDQGHGLQWKHFRPSODLQW
<RXDOVRPXVWILOH\RXUDQVZHURUPRWLRQZLWKWKHFRXUW



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'DWH        3/11/2025                                                                    /s/ Jean-Claude Douyon
                                                                                          6LJQDWXUHRI&OHUNRU'HSXW\&OHUN
                    Case 1:25-cv-00716-BAH                    Document 5        Filed 03/11/25            Page 14 of 34

$2 5HY 6XPPRQVLQD&LYLO$FWLRQ 3DJH

 &LYLO$FWLRQ1R 1:25-cv-00716-BAH

                                                      PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           7KLVVXPPRQVIRU QDPHRILQGLYLGXDODQGWLWOHLIDQ\
 ZDVUHFHLYHGE\PHRQ GDWH                                           

           u ,SHUVRQDOO\VHUYHGWKHVXPPRQVRQWKHLQGLYLGXDODW SODFH
                                                                                 RQ GDWH                              RU

           u ,OHIWWKHVXPPRQVDWWKHLQGLYLGXDO¶VUHVLGHQFHRUXVXDOSODFHRIDERGHZLWK QDPH
                                                                  DSHUVRQRIVXLWDEOHDJHDQGGLVFUHWLRQZKRUHVLGHVWKHUH
           RQ GDWH                                 DQGPDLOHGDFRS\WRWKHLQGLYLGXDO¶VODVWNQRZQDGGUHVVRU

           u ,VHUYHGWKHVXPPRQVRQ QDPHRILQGLYLGXDO                                                                        ZKRLV
           GHVLJQDWHGE\ODZWRDFFHSWVHUYLFHRISURFHVVRQEHKDOIRI QDPHRIRUJDQL]DWLRQ
                                                                                 RQ GDWH                              RU

           u ,UHWXUQHGWKHVXPPRQVXQH[HFXWHGEHFDXVH                                                                               RU

           u 2WKHU VSHFLI\ 
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           0\IHHVDUH                            IRUWUDYHODQG                  IRUVHUYLFHVIRUDWRWDORI          0.00          


           ,GHFODUHXQGHUSHQDOW\RISHUMXU\WKDWWKLVLQIRUPDWLRQLVWUXH


 'DWH
                                                                                              6HUYHU¶VVLJQDWXUH



                                                                                            3ULQWHGQDPHDQGWLWOH




                                                                                              6HUYHU¶VDGGUHVV

 $GGLWLRQDOLQIRUPDWLRQUHJDUGLQJDWWHPSWHGVHUYLFHHWF
                  Case 1:25-cv-00716-BAH                    Document 5         Filed 03/11/25      Page 15 of 34

$2 5HY'& 6XPPRQVLQD&LYLO$FWLRQ


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                                                                    IRUWKH
                                                           District of Columbia
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                       Perkins Coie LLP




                            3ODLQWLII V
                                 Y                                           &LYLO$FWLRQ1R 1:25-cv-00716-BAH
             U.S. Department of Justice, et al.



                           'HIHQGDQW V


                                                     SUMMONS IN A CIVIL ACTION

7R 'HIHQGDQW¶VQDPHDQGDGGUHVV GENERAL SERVICES ADMINISTRATION,
                                          1800 F Street NW, Washington, D.C. 20405




          $ODZVXLWKDVEHHQILOHGDJDLQVW\RX

        :LWKLQGD\VDIWHUVHUYLFHRIWKLVVXPPRQVRQ\RX QRWFRXQWLQJWKHGD\\RXUHFHLYHGLW ²RUGD\VLI\RX
DUHWKH8QLWHG6WDWHVRUD8QLWHG6WDWHVDJHQF\RUDQRIILFHURUHPSOR\HHRIWKH8QLWHG6WDWHVGHVFULEHGLQ)HG5&LY
3 D  RU  ²\RXPXVWVHUYHRQWKHSODLQWLIIDQDQVZHUWRWKHDWWDFKHGFRPSODLQWRUDPRWLRQXQGHU5XOHRI
WKH)HGHUDO5XOHVRI&LYLO3URFHGXUH7KHDQVZHURUPRWLRQPXVWEHVHUYHGRQWKHSODLQWLIIRUSODLQWLII¶VDWWRUQH\
ZKRVHQDPHDQGDGGUHVVDUH Dane Butswinkas
                                          Williams & Connolly LLP
                                          680 Maine Ave, SW
                                          Washington, DC 20024



       ,I\RXIDLOWRUHVSRQGMXGJPHQWE\GHIDXOWZLOOEHHQWHUHGDJDLQVW\RXIRUWKHUHOLHIGHPDQGHGLQWKHFRPSODLQW
<RXDOVRPXVWILOH\RXUDQVZHURUPRWLRQZLWKWKHFRXUW



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'DWH        3/11/2025                                                                     /s/ Jean-Claude Douyon
                                                                                          6LJQDWXUHRI&OHUNRU'HSXW\&OHUN
                    Case 1:25-cv-00716-BAH                    Document 5        Filed 03/11/25            Page 16 of 34

$2 5HY 6XPPRQVLQD&LYLO$FWLRQ 3DJH

 &LYLO$FWLRQ1R 1:25-cv-00716-BAH

                                                      PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           7KLVVXPPRQVIRU QDPHRILQGLYLGXDODQGWLWOHLIDQ\
 ZDVUHFHLYHGE\PHRQ GDWH                                           

           u ,SHUVRQDOO\VHUYHGWKHVXPPRQVRQWKHLQGLYLGXDODW SODFH
                                                                                 RQ GDWH                              RU

           u ,OHIWWKHVXPPRQVDWWKHLQGLYLGXDO¶VUHVLGHQFHRUXVXDOSODFHRIDERGHZLWK QDPH
                                                                  DSHUVRQRIVXLWDEOHDJHDQGGLVFUHWLRQZKRUHVLGHVWKHUH
           RQ GDWH                                 DQGPDLOHGDFRS\WRWKHLQGLYLGXDO¶VODVWNQRZQDGGUHVVRU

           u ,VHUYHGWKHVXPPRQVRQ QDPHRILQGLYLGXDO                                                                        ZKRLV
           GHVLJQDWHGE\ODZWRDFFHSWVHUYLFHRISURFHVVRQEHKDOIRI QDPHRIRUJDQL]DWLRQ
                                                                                 RQ GDWH                              RU

           u ,UHWXUQHGWKHVXPPRQVXQH[HFXWHGEHFDXVH                                                                               RU

           u 2WKHU VSHFLI\ 
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           0\IHHVDUH                            IRUWUDYHODQG                  IRUVHUYLFHVIRUDWRWDORI          0.00          


           ,GHFODUHXQGHUSHQDOW\RISHUMXU\WKDWWKLVLQIRUPDWLRQLVWUXH


 'DWH
                                                                                              6HUYHU¶VVLJQDWXUH



                                                                                            3ULQWHGQDPHDQGWLWOH




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 $GGLWLRQDOLQIRUPDWLRQUHJDUGLQJDWWHPSWHGVHUYLFHHWF
                  Case 1:25-cv-00716-BAH                    Document 5         Filed 03/11/25      Page 17 of 34

$2 5HY'& 6XPPRQVLQD&LYLO$FWLRQ


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                                                                    IRUWKH
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                       Perkins Coie LLP




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             U.S. Department of Justice, et al.



                           'HIHQGDQW V


                                                     SUMMONS IN A CIVIL ACTION

7R 'HIHQGDQW¶VQDPHDQGDGGUHVV OFFICE OF PERSONNEL MANAGEMENT,
                                          1900 E St., NW, Washington, DC 20415




          $ODZVXLWKDVEHHQILOHGDJDLQVW\RX

        :LWKLQGD\VDIWHUVHUYLFHRIWKLVVXPPRQVRQ\RX QRWFRXQWLQJWKHGD\\RXUHFHLYHGLW ²RUGD\VLI\RX
DUHWKH8QLWHG6WDWHVRUD8QLWHG6WDWHVDJHQF\RUDQRIILFHURUHPSOR\HHRIWKH8QLWHG6WDWHVGHVFULEHGLQ)HG5&LY
3 D  RU  ²\RXPXVWVHUYHRQWKHSODLQWLIIDQDQVZHUWRWKHDWWDFKHGFRPSODLQWRUDPRWLRQXQGHU5XOHRI
WKH)HGHUDO5XOHVRI&LYLO3URFHGXUH7KHDQVZHURUPRWLRQPXVWEHVHUYHGRQWKHSODLQWLIIRUSODLQWLII¶VDWWRUQH\
ZKRVHQDPHDQGDGGUHVVDUH Dane Butswinkas
                                          Williams & Connolly LLP
                                          680 Maine Ave, SW
                                          Washington, DC 20024



       ,I\RXIDLOWRUHVSRQGMXGJPHQWE\GHIDXOWZLOOEHHQWHUHGDJDLQVW\RXIRUWKHUHOLHIGHPDQGHGLQWKHFRPSODLQW
<RXDOVRPXVWILOH\RXUDQVZHURUPRWLRQZLWKWKHFRXUW



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'DWH        3/11/2025                                                                    /s/ Jean-Claude Douyon
                                                                                          6LJQDWXUHRI&OHUNRU'HSXW\&OHUN
                    Case 1:25-cv-00716-BAH                    Document 5        Filed 03/11/25            Page 18 of 34

$2 5HY 6XPPRQVLQD&LYLO$FWLRQ 3DJH

 &LYLO$FWLRQ1R 1:25-cv-00716-BAH

                                                      PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           7KLVVXPPRQVIRU QDPHRILQGLYLGXDODQGWLWOHLIDQ\
 ZDVUHFHLYHGE\PHRQ GDWH                                           

           u ,SHUVRQDOO\VHUYHGWKHVXPPRQVRQWKHLQGLYLGXDODW SODFH
                                                                                 RQ GDWH                              RU

           u ,OHIWWKHVXPPRQVDWWKHLQGLYLGXDO¶VUHVLGHQFHRUXVXDOSODFHRIDERGHZLWK QDPH
                                                                  DSHUVRQRIVXLWDEOHDJHDQGGLVFUHWLRQZKRUHVLGHVWKHUH
           RQ GDWH                                 DQGPDLOHGDFRS\WRWKHLQGLYLGXDO¶VODVWNQRZQDGGUHVVRU

           u ,VHUYHGWKHVXPPRQVRQ QDPHRILQGLYLGXDO                                                                        ZKRLV
           GHVLJQDWHGE\ODZWRDFFHSWVHUYLFHRISURFHVVRQEHKDOIRI QDPHRIRUJDQL]DWLRQ
                                                                                 RQ GDWH                              RU

           u ,UHWXUQHGWKHVXPPRQVXQH[HFXWHGEHFDXVH                                                                               RU

           u 2WKHU VSHFLI\ 
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           0\IHHVDUH                            IRUWUDYHODQG                  IRUVHUYLFHVIRUDWRWDORI          0.00          


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 'DWH
                                                                                              6HUYHU¶VVLJQDWXUH



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 $GGLWLRQDOLQIRUPDWLRQUHJDUGLQJDWWHPSWHGVHUYLFHHWF
                  Case 1:25-cv-00716-BAH                    Document 5         Filed 03/11/25      Page 19 of 34

$2 5HY'& 6XPPRQVLQD&LYLO$FWLRQ


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                                                                    IRUWKH
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                       Perkins Coie LLP




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             U.S. Department of Justice, et al.



                           'HIHQGDQW V


                                                     SUMMONS IN A CIVIL ACTION

7R 'HIHQGDQW¶VQDPHDQGDGGUHVV Office of the Director of National Intelligence,
                                          Washington, DC 20511




          $ODZVXLWKDVEHHQILOHGDJDLQVW\RX

        :LWKLQGD\VDIWHUVHUYLFHRIWKLVVXPPRQVRQ\RX QRWFRXQWLQJWKHGD\\RXUHFHLYHGLW ²RUGD\VLI\RX
DUHWKH8QLWHG6WDWHVRUD8QLWHG6WDWHVDJHQF\RUDQRIILFHURUHPSOR\HHRIWKH8QLWHG6WDWHVGHVFULEHGLQ)HG5&LY
3 D  RU  ²\RXPXVWVHUYHRQWKHSODLQWLIIDQDQVZHUWRWKHDWWDFKHGFRPSODLQWRUDPRWLRQXQGHU5XOHRI
WKH)HGHUDO5XOHVRI&LYLO3URFHGXUH7KHDQVZHURUPRWLRQPXVWEHVHUYHGRQWKHSODLQWLIIRUSODLQWLII¶VDWWRUQH\
ZKRVHQDPHDQGDGGUHVVDUH Dane Butswinkas
                                          Williams & Connolly LLP
                                          680 Maine Ave, SW
                                          Washington, DC 20024



       ,I\RXIDLOWRUHVSRQGMXGJPHQWE\GHIDXOWZLOOEHHQWHUHGDJDLQVW\RXIRUWKHUHOLHIGHPDQGHGLQWKHFRPSODLQW
<RXDOVRPXVWILOH\RXUDQVZHURUPRWLRQZLWKWKHFRXUW



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'DWH        3/11/2025                                                                     /s/ Jean-Claude Douyon
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                    Case 1:25-cv-00716-BAH                    Document 5        Filed 03/11/25            Page 20 of 34

$2 5HY 6XPPRQVLQD&LYLO$FWLRQ 3DJH

 &LYLO$FWLRQ1R 1:25-cv-00716-BAH

                                                      PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           7KLVVXPPRQVIRU QDPHRILQGLYLGXDODQGWLWOHLIDQ\
 ZDVUHFHLYHGE\PHRQ GDWH                                           

           u ,SHUVRQDOO\VHUYHGWKHVXPPRQVRQWKHLQGLYLGXDODW SODFH
                                                                                 RQ GDWH                              RU

           u ,OHIWWKHVXPPRQVDWWKHLQGLYLGXDO¶VUHVLGHQFHRUXVXDOSODFHRIDERGHZLWK QDPH
                                                                  DSHUVRQRIVXLWDEOHDJHDQGGLVFUHWLRQZKRUHVLGHVWKHUH
           RQ GDWH                                 DQGPDLOHGDFRS\WRWKHLQGLYLGXDO¶VODVWNQRZQDGGUHVVRU

           u ,VHUYHGWKHVXPPRQVRQ QDPHRILQGLYLGXDO                                                                        ZKRLV
           GHVLJQDWHGE\ODZWRDFFHSWVHUYLFHRISURFHVVRQEHKDOIRI QDPHRIRUJDQL]DWLRQ
                                                                                 RQ GDWH                              RU

           u ,UHWXUQHGWKHVXPPRQVXQH[HFXWHGEHFDXVH                                                                               RU

           u 2WKHU VSHFLI\ 
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           0\IHHVDUH                            IRUWUDYHODQG                  IRUVHUYLFHVIRUDWRWDORI          0.00          


           ,GHFODUHXQGHUSHQDOW\RISHUMXU\WKDWWKLVLQIRUPDWLRQLVWUXH


 'DWH
                                                                                              6HUYHU¶VVLJQDWXUH



                                                                                            3ULQWHGQDPHDQGWLWOH




                                                                                              6HUYHU¶VDGGUHVV

 $GGLWLRQDOLQIRUPDWLRQUHJDUGLQJDWWHPSWHGVHUYLFHHWF
                  Case 1:25-cv-00716-BAH                    Document 5         Filed 03/11/25      Page 21 of 34

$2 5HY'& 6XPPRQVLQD&LYLO$FWLRQ


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                                                                    IRUWKH
                                                           District of Columbia
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                       Perkins Coie LLP




                            3ODLQWLII V
                                 Y                                           &LYLO$FWLRQ1R 1:25-cv-00716-BAH
             U.S. Department of Justice, et al.



                           'HIHQGDQW V


                                                     SUMMONS IN A CIVIL ACTION

7R 'HIHQGDQW¶VQDPHDQGDGGUHVV PAMELA J. BONDI, in her official capacity as Attorney General,
                                          950 Pennsylvania Avenue NW, Washington, DC 20530




          $ODZVXLWKDVEHHQILOHGDJDLQVW\RX

        :LWKLQGD\VDIWHUVHUYLFHRIWKLVVXPPRQVRQ\RX QRWFRXQWLQJWKHGD\\RXUHFHLYHGLW ²RUGD\VLI\RX
DUHWKH8QLWHG6WDWHVRUD8QLWHG6WDWHVDJHQF\RUDQRIILFHURUHPSOR\HHRIWKH8QLWHG6WDWHVGHVFULEHGLQ)HG5&LY
3 D  RU  ²\RXPXVWVHUYHRQWKHSODLQWLIIDQDQVZHUWRWKHDWWDFKHGFRPSODLQWRUDPRWLRQXQGHU5XOHRI
WKH)HGHUDO5XOHVRI&LYLO3URFHGXUH7KHDQVZHURUPRWLRQPXVWEHVHUYHGRQWKHSODLQWLIIRUSODLQWLII¶VDWWRUQH\
ZKRVHQDPHDQGDGGUHVVDUH Dane Butswinkas
                                          Williams & Connolly LLP
                                          680 Maine Ave, SW
                                          Washington, DC 20024



       ,I\RXIDLOWRUHVSRQGMXGJPHQWE\GHIDXOWZLOOEHHQWHUHGDJDLQVW\RXIRUWKHUHOLHIGHPDQGHGLQWKHFRPSODLQW
<RXDOVRPXVWILOH\RXUDQVZHURUPRWLRQZLWKWKHFRXUW



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'DWH       3/11/2025                                                                      /s/ Jean-Claude Douyon
                                                                                          6LJQDWXUHRI&OHUNRU'HSXW\&OHUN
                    Case 1:25-cv-00716-BAH                    Document 5        Filed 03/11/25            Page 22 of 34

$2 5HY 6XPPRQVLQD&LYLO$FWLRQ 3DJH

 &LYLO$FWLRQ1R 1:25-cv-00716-BAH

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           7KLVVXPPRQVIRU QDPHRILQGLYLGXDODQGWLWOHLIDQ\
 ZDVUHFHLYHGE\PHRQ GDWH                                           

           u ,SHUVRQDOO\VHUYHGWKHVXPPRQVRQWKHLQGLYLGXDODW SODFH
                                                                                 RQ GDWH                              RU

           u ,OHIWWKHVXPPRQVDWWKHLQGLYLGXDO¶VUHVLGHQFHRUXVXDOSODFHRIDERGHZLWK QDPH
                                                                  DSHUVRQRIVXLWDEOHDJHDQGGLVFUHWLRQZKRUHVLGHVWKHUH
           RQ GDWH                                 DQGPDLOHGDFRS\WRWKHLQGLYLGXDO¶VODVWNQRZQDGGUHVVRU

           u ,VHUYHGWKHVXPPRQVRQ QDPHRILQGLYLGXDO                                                                        ZKRLV
           GHVLJQDWHGE\ODZWRDFFHSWVHUYLFHRISURFHVVRQEHKDOIRI QDPHRIRUJDQL]DWLRQ
                                                                                 RQ GDWH                              RU

           u ,UHWXUQHGWKHVXPPRQVXQH[HFXWHGEHFDXVH                                                                               RU

           u 2WKHU VSHFLI\ 
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 'DWH
                                                                                              6HUYHU¶VVLJQDWXUH



                                                                                            3ULQWHGQDPHDQGWLWOH




                                                                                              6HUYHU¶VDGGUHVV

 $GGLWLRQDOLQIRUPDWLRQUHJDUGLQJDWWHPSWHGVHUYLFHHWF
                  Case 1:25-cv-00716-BAH                    Document 5         Filed 03/11/25      Page 23 of 34

$2 5HY'& 6XPPRQVLQD&LYLO$FWLRQ


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                                                                    IRUWKH
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                       Perkins Coie LLP




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                                 Y                                           &LYLO$FWLRQ1R 1:25-cv-00716-BAH
             U.S. Department of Justice, et al.



                           'HIHQGDQW V


                                                     SUMMONS IN A CIVIL ACTION

7R 'HIHQGDQW¶VQDPHDQGDGGUHVV RUSSELL T. VOUGHT, in his official capacity as Director of The U.S. Office of
                                          Management and Budget,
                                          725 17th Street, NW Washington, DC 20503




          $ODZVXLWKDVEHHQILOHGDJDLQVW\RX

        :LWKLQGD\VDIWHUVHUYLFHRIWKLVVXPPRQVRQ\RX QRWFRXQWLQJWKHGD\\RXUHFHLYHGLW ²RUGD\VLI\RX
DUHWKH8QLWHG6WDWHVRUD8QLWHG6WDWHVDJHQF\RUDQRIILFHURUHPSOR\HHRIWKH8QLWHG6WDWHVGHVFULEHGLQ)HG5&LY
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ZKRVHQDPHDQGDGGUHVVDUH Dane Butswinkas
                                          Williams & Connolly LLP
                                          680 Maine Ave, SW
                                          Washington, DC 20024



       ,I\RXIDLOWRUHVSRQGMXGJPHQWE\GHIDXOWZLOOEHHQWHUHGDJDLQVW\RXIRUWKHUHOLHIGHPDQGHGLQWKHFRPSODLQW
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'DWH        3/11/2025                                                                     /s/ Jean-Claude Douyon
                                                                                          6LJQDWXUHRI&OHUNRU'HSXW\&OHUN
                    Case 1:25-cv-00716-BAH                    Document 5        Filed 03/11/25            Page 24 of 34

$2 5HY 6XPPRQVLQD&LYLO$FWLRQ 3DJH

 &LYLO$FWLRQ1R 1:25-cv-00716-BAH

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                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           7KLVVXPPRQVIRU QDPHRILQGLYLGXDODQGWLWOHLIDQ\
 ZDVUHFHLYHGE\PHRQ GDWH                                           

           u ,SHUVRQDOO\VHUYHGWKHVXPPRQVRQWKHLQGLYLGXDODW SODFH
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           u ,OHIWWKHVXPPRQVDWWKHLQGLYLGXDO¶VUHVLGHQFHRUXVXDOSODFHRIDERGHZLWK QDPH
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           RQ GDWH                                 DQGPDLOHGDFRS\WRWKHLQGLYLGXDO¶VODVWNQRZQDGGUHVVRU

           u ,VHUYHGWKHVXPPRQVRQ QDPHRILQGLYLGXDO                                                                        ZKRLV
           GHVLJQDWHGE\ODZWRDFFHSWVHUYLFHRISURFHVVRQEHKDOIRI QDPHRIRUJDQL]DWLRQ
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           u ,UHWXUQHGWKHVXPPRQVXQH[HFXWHGEHFDXVH                                                                               RU

           u 2WKHU VSHFLI\ 
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 $GGLWLRQDOLQIRUPDWLRQUHJDUGLQJDWWHPSWHGVHUYLFHHWF
                  Case 1:25-cv-00716-BAH                    Document 5         Filed 03/11/25      Page 25 of 34

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                       Perkins Coie LLP




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             U.S. Department of Justice, et al.



                           'HIHQGDQW V


                                                     SUMMONS IN A CIVIL ACTION

7R 'HIHQGDQW¶VQDPHDQGDGGUHVV STEPHEN EHEKIAN, in his official capacity as Acting Administrator of the General
                                          Services Administration,
                                          1800 F Street NW, Washington, D.C. 20405




          $ODZVXLWKDVEHHQILOHGDJDLQVW\RX

        :LWKLQGD\VDIWHUVHUYLFHRIWKLVVXPPRQVRQ\RX QRWFRXQWLQJWKHGD\\RXUHFHLYHGLW ²RUGD\VLI\RX
DUHWKH8QLWHG6WDWHVRUD8QLWHG6WDWHVDJHQF\RUDQRIILFHURUHPSOR\HHRIWKH8QLWHG6WDWHVGHVFULEHGLQ)HG5&LY
3 D  RU  ²\RXPXVWVHUYHRQWKHSODLQWLIIDQDQVZHUWRWKHDWWDFKHGFRPSODLQWRUDPRWLRQXQGHU5XOHRI
WKH)HGHUDO5XOHVRI&LYLO3URFHGXUH7KHDQVZHURUPRWLRQPXVWEHVHUYHGRQWKHSODLQWLIIRUSODLQWLII¶VDWWRUQH\
ZKRVHQDPHDQGDGGUHVVDUH Dane Butswinkas
                                          Williams & Connolly LLP
                                          680 Maine Ave, SW
                                          Washington, DC 20024



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'DWH       3/11/2025                                                                      /s/ Jean-Claude Douyon
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                    Case 1:25-cv-00716-BAH                    Document 5        Filed 03/11/25            Page 26 of 34

$2 5HY 6XPPRQVLQD&LYLO$FWLRQ 3DJH

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                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           7KLVVXPPRQVIRU QDPHRILQGLYLGXDODQGWLWOHLIDQ\
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           u ,SHUVRQDOO\VHUYHGWKHVXPPRQVRQWKHLQGLYLGXDODW SODFH
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           u ,OHIWWKHVXPPRQVDWWKHLQGLYLGXDO¶VUHVLGHQFHRUXVXDOSODFHRIDERGHZLWK QDPH
                                                                  DSHUVRQRIVXLWDEOHDJHDQGGLVFUHWLRQZKRUHVLGHVWKHUH
           RQ GDWH                                 DQGPDLOHGDFRS\WRWKHLQGLYLGXDO¶VODVWNQRZQDGGUHVVRU

           u ,VHUYHGWKHVXPPRQVRQ QDPHRILQGLYLGXDO                                                                        ZKRLV
           GHVLJQDWHGE\ODZWRDFFHSWVHUYLFHRISURFHVVRQEHKDOIRI QDPHRIRUJDQL]DWLRQ
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           u ,UHWXUQHGWKHVXPPRQVXQH[HFXWHGEHFDXVH                                                                               RU

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                  Case 1:25-cv-00716-BAH                    Document 5         Filed 03/11/25      Page 27 of 34

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             U.S. Department of Justice, et al.



                           'HIHQGDQW V


                                                     SUMMONS IN A CIVIL ACTION

7R 'HIHQGDQW¶VQDPHDQGDGGUHVV THE UNITED STATES OF AMERICA,
                                          U.S. Attorney’s Office for D.C.
                                          601 D Street, NW Washington, DC 20530




          $ODZVXLWKDVEHHQILOHGDJDLQVW\RX

        :LWKLQGD\VDIWHUVHUYLFHRIWKLVVXPPRQVRQ\RX QRWFRXQWLQJWKHGD\\RXUHFHLYHGLW ²RUGD\VLI\RX
DUHWKH8QLWHG6WDWHVRUD8QLWHG6WDWHVDJHQF\RUDQRIILFHURUHPSOR\HHRIWKH8QLWHG6WDWHVGHVFULEHGLQ)HG5&LY
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WKH)HGHUDO5XOHVRI&LYLO3URFHGXUH7KHDQVZHURUPRWLRQPXVWEHVHUYHGRQWKHSODLQWLIIRUSODLQWLII¶VDWWRUQH\
ZKRVHQDPHDQGDGGUHVVDUH Dane Butswinkas
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                                          Washington, DC 20024



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'DWH        3/11/2025                                                                    /s/ Jean-Claude Douyon
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                    Case 1:25-cv-00716-BAH                    Document 5        Filed 03/11/25            Page 28 of 34

$2 5HY 6XPPRQVLQD&LYLO$FWLRQ 3DJH

 &LYLO$FWLRQ1R 1:25-cv-00716-BAH

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           7KLVVXPPRQVIRU QDPHRILQGLYLGXDODQGWLWOHLIDQ\
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           RQ GDWH                                 DQGPDLOHGDFRS\WRWKHLQGLYLGXDO¶VODVWNQRZQDGGUHVVRU

           u ,VHUYHGWKHVXPPRQVRQ QDPHRILQGLYLGXDO                                                                        ZKRLV
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 $GGLWLRQDOLQIRUPDWLRQUHJDUGLQJDWWHPSWHGVHUYLFHHWF
                  Case 1:25-cv-00716-BAH                    Document 5         Filed 03/11/25      Page 29 of 34

$2 5HY'& 6XPPRQVLQD&LYLO$FWLRQ


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                       Perkins Coie LLP




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             U.S. Department of Justice, et al.



                           'HIHQGDQW V


                                                     SUMMONS IN A CIVIL ACTION

7R 'HIHQGDQW¶VQDPHDQGDGGUHVV TULSI GABBARD, in her official capacity as U.S. Director of National Intelligence;
                                          Office of the Director of National Intelligence,Washington, DC 20511




          $ODZVXLWKDVEHHQILOHGDJDLQVW\RX

        :LWKLQGD\VDIWHUVHUYLFHRIWKLVVXPPRQVRQ\RX QRWFRXQWLQJWKHGD\\RXUHFHLYHGLW ²RUGD\VLI\RX
DUHWKH8QLWHG6WDWHVRUD8QLWHG6WDWHVDJHQF\RUDQRIILFHURUHPSOR\HHRIWKH8QLWHG6WDWHVGHVFULEHGLQ)HG5&LY
3 D  RU  ²\RXPXVWVHUYHRQWKHSODLQWLIIDQDQVZHUWRWKHDWWDFKHGFRPSODLQWRUDPRWLRQXQGHU5XOHRI
WKH)HGHUDO5XOHVRI&LYLO3URFHGXUH7KHDQVZHURUPRWLRQPXVWEHVHUYHGRQWKHSODLQWLIIRUSODLQWLII¶VDWWRUQH\
ZKRVHQDPHDQGDGGUHVVDUH Dane Butswinkas
                                          Williams & Connolly LLP
                                          680 Maine Ave, SW
                                          Washington, DC 20024



       ,I\RXIDLOWRUHVSRQGMXGJPHQWE\GHIDXOWZLOOEHHQWHUHGDJDLQVW\RXIRUWKHUHOLHIGHPDQGHGLQWKHFRPSODLQW
<RXDOVRPXVWILOH\RXUDQVZHURUPRWLRQZLWKWKHFRXUW



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'DWH        3/11/2025                                                                     /s/ Jean-Claude Douyon
                                                                                          6LJQDWXUHRI&OHUNRU'HSXW\&OHUN
                    Case 1:25-cv-00716-BAH                    Document 5        Filed 03/11/25            Page 30 of 34

$2 5HY 6XPPRQVLQD&LYLO$FWLRQ 3DJH

 &LYLO$FWLRQ1R 1:25-cv-00716-BAH

                                                      PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           7KLVVXPPRQVIRU QDPHRILQGLYLGXDODQGWLWOHLIDQ\
 ZDVUHFHLYHGE\PHRQ GDWH                                           

           u ,SHUVRQDOO\VHUYHGWKHVXPPRQVRQWKHLQGLYLGXDODW SODFH
                                                                                 RQ GDWH                              RU

           u ,OHIWWKHVXPPRQVDWWKHLQGLYLGXDO¶VUHVLGHQFHRUXVXDOSODFHRIDERGHZLWK QDPH
                                                                  DSHUVRQRIVXLWDEOHDJHDQGGLVFUHWLRQZKRUHVLGHVWKHUH
           RQ GDWH                                 DQGPDLOHGDFRS\WRWKHLQGLYLGXDO¶VODVWNQRZQDGGUHVVRU

           u ,VHUYHGWKHVXPPRQVRQ QDPHRILQGLYLGXDO                                                                        ZKRLV
           GHVLJQDWHGE\ODZWRDFFHSWVHUYLFHRISURFHVVRQEHKDOIRI QDPHRIRUJDQL]DWLRQ
                                                                                 RQ GDWH                              RU

           u ,UHWXUQHGWKHVXPPRQVXQH[HFXWHGEHFDXVH                                                                               RU

           u 2WKHU VSHFLI\ 
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           ,GHFODUHXQGHUSHQDOW\RISHUMXU\WKDWWKLVLQIRUPDWLRQLVWUXH


 'DWH
                                                                                              6HUYHU¶VVLJQDWXUH



                                                                                            3ULQWHGQDPHDQGWLWOH




                                                                                              6HUYHU¶VDGGUHVV

 $GGLWLRQDOLQIRUPDWLRQUHJDUGLQJDWWHPSWHGVHUYLFHHWF
                  Case 1:25-cv-00716-BAH                    Document 5         Filed 03/11/25      Page 31 of 34

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                       Perkins Coie LLP




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             U.S. Department of Justice, et al.



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                                                     SUMMONS IN A CIVIL ACTION

7R 'HIHQGDQW¶VQDPHDQGDGGUHVV U.S. DEPARTMENT OF JUSTICE
                                          950 Pennsylvania Avenue NW Washington, DC 20530




          $ODZVXLWKDVEHHQILOHGDJDLQVW\RX

        :LWKLQGD\VDIWHUVHUYLFHRIWKLVVXPPRQVRQ\RX QRWFRXQWLQJWKHGD\\RXUHFHLYHGLW ²RUGD\VLI\RX
DUHWKH8QLWHG6WDWHVRUD8QLWHG6WDWHVDJHQF\RUDQRIILFHURUHPSOR\HHRIWKH8QLWHG6WDWHVGHVFULEHGLQ)HG5&LY
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ZKRVHQDPHDQGDGGUHVVDUH Dane Butswinkas
                                          Williams & Connolly LLP
                                          680 Maine Ave, SW
                                          Washington, DC 20024



       ,I\RXIDLOWRUHVSRQGMXGJPHQWE\GHIDXOWZLOOEHHQWHUHGDJDLQVW\RXIRUWKHUHOLHIGHPDQGHGLQWKHFRPSODLQW
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'DWH        3/11/2025                                                                     /s/ Jean-Claude Douyon
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                    Case 1:25-cv-00716-BAH                    Document 5        Filed 03/11/25            Page 32 of 34

$2 5HY 6XPPRQVLQD&LYLO$FWLRQ 3DJH

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                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           7KLVVXPPRQVIRU QDPHRILQGLYLGXDODQGWLWOHLIDQ\
 ZDVUHFHLYHGE\PHRQ GDWH                                           

           u ,SHUVRQDOO\VHUYHGWKHVXPPRQVRQWKHLQGLYLGXDODW SODFH
                                                                                 RQ GDWH                              RU

           u ,OHIWWKHVXPPRQVDWWKHLQGLYLGXDO¶VUHVLGHQFHRUXVXDOSODFHRIDERGHZLWK QDPH
                                                                  DSHUVRQRIVXLWDEOHDJHDQGGLVFUHWLRQZKRUHVLGHVWKHUH
           RQ GDWH                                 DQGPDLOHGDFRS\WRWKHLQGLYLGXDO¶VODVWNQRZQDGGUHVVRU

           u ,VHUYHGWKHVXPPRQVRQ QDPHRILQGLYLGXDO                                                                        ZKRLV
           GHVLJQDWHGE\ODZWRDFFHSWVHUYLFHRISURFHVVRQEHKDOIRI QDPHRIRUJDQL]DWLRQ
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           u ,UHWXUQHGWKHVXPPRQVXQH[HFXWHGEHFDXVH                                                                               RU

           u 2WKHU VSHFLI\ 
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 $GGLWLRQDOLQIRUPDWLRQUHJDUGLQJDWWHPSWHGVHUYLFHHWF
                  Case 1:25-cv-00716-BAH                    Document 5         Filed 03/11/25      Page 33 of 34

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                       Perkins Coie LLP




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             U.S. Department of Justice, et al.



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                                                     SUMMONS IN A CIVIL ACTION

7R 'HIHQGDQW¶VQDPHDQGDGGUHVV The Office of Management and Budget
                                          725 17th Street, NW
                                          Washington, DC 20503




          $ODZVXLWKDVEHHQILOHGDJDLQVW\RX

        :LWKLQGD\VDIWHUVHUYLFHRIWKLVVXPPRQVRQ\RX QRWFRXQWLQJWKHGD\\RXUHFHLYHGLW ²RUGD\VLI\RX
DUHWKH8QLWHG6WDWHVRUD8QLWHG6WDWHVDJHQF\RUDQRIILFHURUHPSOR\HHRIWKH8QLWHG6WDWHVGHVFULEHGLQ)HG5&LY
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ZKRVHQDPHDQGDGGUHVVDUH Dane Butswinkas
                                          Williams & Connolly LLP
                                          680 Maine Ave, SW
                                          Washington, DC 20024



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'DWH         3/11/2025                                                                   /s/ Jean-Claude Douyon
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                    Case 1:25-cv-00716-BAH                    Document 5        Filed 03/11/25            Page 34 of 34

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                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           7KLVVXPPRQVIRU QDPHRILQGLYLGXDODQGWLWOHLIDQ\
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           RQ GDWH                                 DQGPDLOHGDFRS\WRWKHLQGLYLGXDO¶VODVWNQRZQDGGUHVVRU

           u ,VHUYHGWKHVXPPRQVRQ QDPHRILQGLYLGXDO                                                                        ZKRLV
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           u ,UHWXUQHGWKHVXPPRQVXQH[HFXWHGEHFDXVH                                                                               RU

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